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Current Concerns About Gender‑Affirming Therapy in Adolescents
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Abstract
Purpose of Review Results of long-term studies of adult transgender populations failed to demonstrate convincing improve-
ments in mental health, and some studies suggest that there are treatment-associated harms. The purpose of this review is
to clarify concerns about the rapid proliferation of hormonal and surgical care for the record numbers of youth declaring
transgender identities and seeking gender reassignment procedures.
Recent Findings Systematic reviews of evidence conducted by public health authorities in Finland, Sweden, and England
concluded that the risk/benefit ratio of youth gender transition ranges from unknown to unfavorable. As a result, there has
been a shift from “gender-affirmative care,” which prioritizes access to medical interventions, to a more conservative approach
that addresses psychiatric comorbidities and psychotherapeutically explores the developmental etiology of the trans identity.
Debate about the safety and efficacy of “gender-affirming care” in the USA is only recently emerging.
Summary The question, “Do the benefits of youth gender transitions outweigh the risks of harm?” remains unanswered
because of a paucity of follow-up data. The conclusions of the systematic reviews of evidence for adolescents are consist-
ent with long-term adult studies, which failed to show credible improvements in mental health and suggested a pattern of
treatment-associated harms. Three recent papers examined the studies that underpin the practice of youth gender transition
and found the research to be deeply flawed. Evidence does not support the notion that “affirmative care” of today’s adolescents
is net beneficial. Questions about how to best care for the rapidly growing numbers of gender-dysphoric youth generated
an intensity of divisiveness within and outside of medicine rarely seen with other clinical uncertainties. Because the future
well-being of young patients and their families is at stake, the field must stop relying on social justice arguments and return
to the time-honored principles of evidence-based medicine.

Keywords Transgender · Gender dysphoria · Gender incongruence · Puberty blockers · Gender-affirming care · The Dutch
protocol


Introduction                                                            Medicine has provided treatments for transgender-identified
                                                                        adolescents for over 25 years [2–6]. These treatments emerged
The fundamental basis for concern about “gender-affirming”              in the late 1980s to early 1990s in large part in response to the
interventions for adolescents, and socially transitioned children       suboptimal outcomes of transitioned adults, with the hope that
who will soon be adolescents, is how they will fare in the ensu-        early gender transition may improve outcomes [3]. Despite
ing decades [1•]. There are significant knowledge gaps about            claims of the lifesaving nature of gender transition for adults,
the balance of benefits and harms as patients live their lives.         none of the many studies convincingly demonstrated endur-
                                                                        ing psychological benefits. The longest-term studies, with the
                                                                        strongest methodologies, reported markedly increased morbid-
* Stephen B. Levine                                                     ity and mortality and a persistently high risk of post-transition
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                                                                        suicide among transitioned adults [7, 8••, 9].
     E. Abbruzzese                                                          The lack of credible evidence of benefits of gender tran-
     emabbruzz@gmail.com
                                                                        sition has come into focus for today’s transgender-identified
1
     Department of Psychiatry, Case Western Reserve University,         youth, whose numbers have sharply increased. The presenta-
     Cleveland, OH, USA                                                 tion of gender dysphoria has markedly changed in recent years
2
     Society for Evidence-Based Gender Medicine (SEGM),                 [10]: the sex ratio of youth presenting in medical settings has
     Twin Falls, ID, USA


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reversed from primarily male to primarily female [11], with the            9. All individual embodiment goals, even those that do
preponderance of youth whose transgender identity emerged                     not occur in nature, must be fulfilled to the full extent
for the first time in adolescence and in the context of significant           technically possible.
pre-existing mental illness and neurocognitive disorders [12].            10. Science has proven the benefits of early gender transi-
These changes began to manifest around 2006 but became pro-                   tion, and low rates of regret and detransition further
nounced around 2014–2015 [13]. Nonetheless, many clinicians                   validate the practice.
and policymakers promulgate that science long ago established
the benefits of gender transition for these adolescents [14–18].             These unproven or disproven assumptions [24] have cre-
   There has never been a dispute about whether medical                   ated a narrative that has misled physicians, parents, and
and surgical interventions can feminize or masculinize sec-               patients to conclude that meeting a young gender dysphoric
ondary and some primary sex characteristics. For children                 individual’s desired body modification goals provides the
and adolescents, the debate is not whether such transforma-               only chance for a full, successful, happy life. It has posi-
tions are possible, but “at what age can youth meaningfully               tioned invasive medical interventions for children and ado-
consent,” “upon fulfilling which criteria,” and perhaps most              lescents as a civil right, rather than as medical interventions.
importantly, “just because we can – should we?” [1•]. Such                   The most fundamental of these assumptions are that a
questions have provoked an intensity of divisiveness within               teenager’s transgender identity, once expressed, is per-
and outside of medicine rarely seen with other clinical uncer-            manent; that it will cause lifelong suffering if no medical
tainties [18–22]. This passion reflects decidedly different pri-          interventions are offered; and that “gender-affirming” inter-
oritization of scientific evidence, medical ethics, and social            ventions are safe and effective at improving short-term and
values. We elaborate on each below.                                       long-term psychological outcomes. All three premises are
                                                                          deeply flawed, as we explain below.

Disagreement About the Scientific Evidence
                                                                          Identity Development in Teenagers Is Far
While several European countries recognized deficiencies                  from Complete
in the evidence supporting the highly medicalized “gender-
affirming” approach to treating gender-dysphoric youth [1•,               Answering the question, “Who am I?” is the primary “devel-
33••, 34••, 35, 36], in North America, the narrative that                 opmental task” of adolescence [25]. Children and adoles-
“gender-affirmative care has been scientifically proven” has              cents are too young to assume their current gender identity is
been remarkably resilient [23••]. Its justification rests on              permanent. Adults should know that young people’s sexual
several key assumptions misrepresented as proven facts [15,               orientations and gender identities fluctuate as they gain more
24]:                                                                      life experiences [26].
                                                                              Among the many facets of identity, the development of
 1.   The emergence of a trans identity is the result of reach-           sexual orientation is particularly relevant as gay, lesbian,
      ing a higher level of self-awareness.                               and bisexual individuals often have extended periods of
 2.   Whether the trans-identity emerges in very young                    suffering from gender dysphoria in their younger years
      children, older children, teens, or mature adults, it is            [27]. The current overall crisis in mental health among
      authentic and will be lifelong.                                     youth and especially girls [28] may introduce further com-
 3.   All gender identity variations are biologically deter-              plexity into the identity development process. As many as
      mined and inherently healthy.                                       70% or more of youth who present with gender identity
 4.   The frequently co-occurring psychiatric symptoms are                concerns for the first time in adolescence had psychiat-
      a direct result of gender incongruence (the so-called               ric diagnoses prior to presenting with gender dysphoria
      “minority distress” model).                                         [29]. The strong connection between a trans identity in
 5.   The only way to relieve, or prevent, psychiatric prob-              adolescence and the presence of neurocognitive diagnoses
      lems is to alter the body at the earliest signs of puberty.         [29, 30] deserves additional consideration, as individu-
 6.   Psychological evaluations and attempts to address psy-              als on the autism spectrum are often gender nonconform-
      chiatric comorbidities should only be used to support               ing. These factors may play a role in the emergence of
      transition.                                                         a transgender identity as a maladaptive mechanism for
 7.   Attempts to resolve gender dysphoria with psycho-                   understanding their distress.
      therapy range from ineffective to harmful.                              The natural arc of adolescence is the eventual resolution of
 8.   Gender-dysphoric youth must have unquestioning                      identity confusion and consolidation of a healthy, multifaceted
      social, hormonal, and surgical support for their cur-               identity. Problematically, every stage of “gender-affirming” care
      rent gender identities and desired physical appearance.             disrupts the natural course of identity development.


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Goals Have Shifted from Reducing Suffering                               baseline to follow-up. Studies that found differences
to Achieving Personal “Embodiment Goals”                                 in outcomes could represent changes that are either
                                                                         of questionable clinical value, or the studies them-
For decades, gender specialists told the public that gender/             selves are not reliable and changes could be due to
sex incongruence created such suffering that these inter-                confounding, bias or chance” [33••, p. 13].
ventions are often “lifesaving.” In 2022, the justification for
                                                                         For cross-sex hormones, the review found that improve-
these interventions changed. WPATH “Standards of Care 8”
                                                                      ments in mental health were highly uncertain and had to
explicitly instructed providers to rely on the “Gender Incon-
                                                                      be carefully weighed against the risks of hormonal inter-
gruence” ICD-11 diagnosis [31], which does not require the
                                                                      ventions [34••]. Having conducted their own systematic
presence of distress [32].
                                                                      review of evidence [35], the Swedish health authority
    This recommendation came with an extensive list of
                                                                      came to the even starker conclusion that for most ado-
medical procedures that WAPTH deems medically neces-
                                                                      lescents, the risks of hormones outweigh the benefits
sary for nonbinary patients, including the construction of a
                                                                      [87 •• ]. The Finnish health authority, and the Florida
neovagina while retaining penis and testicles, and “nonbi-
                                                                      health authority, came to similar conclusions after their
nary mastectomies” that preserve some of the female breast
                                                                      own systematic reviews/overviews of systematic reviews
tissue but resize and reposition the nipple and areola to make
                                                                      [36, 37••].
the breast appear more masculine. Procedures ranging from
                                                                         Since the practice of gender-transitioning youth did not
“flat front” obliteration of sex organs for those with a eunuch
                                                                      begin to be widely scaled until about 2015, the existing sys-
gender identity, to uterine transplantation for male-to-female
                                                                      tematic reviews of evidence for young people are limited by
individuals wishing to pursue childbearing, are also listed as
                                                                      very short-term follow-up. Therefore, it is informative to
medically necessary [31, p. 136].
                                                                      look at studies that followed lifelong trajectories of individu-
    Although achieving body modification goals can be very
                                                                      als who medically transitioned decades ago, although they
satisfying to patients, clinicians should not confuse it with
                                                                      represent a different demographic group (most transitioned
improved functioning in relational, sexual, educational,
                                                                      when they were older). Unfortunately, these long-term data
substance dependence, and vocational aspects of life—
                                                                      do not show that hormonal and surgical transitions result in
the domains of mental health. Nor can it be claimed to be
                                                                      lasting mental health improvements in transgender-identified
“lifesaving.”
                                                                      individuals, and some evidence even suggests the possibility
                                                                      of treatment-associated harms [7, 40•].
                                                                         A well-known 30-year Swedish follow-up study com-
Medical and Surgical Gender Transition Has Not                        pared medically transitioned individuals to cisgender age-
Resulted in Credible Mental Health Improvements                       matched peers on key measures of morbidity and mortal-
                                                                      ity [7]. The study found sharply elevated rates of suicide
Despite the promise that gender transition is key to ame-
                                                                      among transitioned adults (19 times higher than controls
liorating the suffering of gender-dysphoric youth, system-
                                                                      overall, and 40 times higher for female-to-male individuals
atic reviews of evidence failed to find trustworthy evidence
                                                                      [7, Table S1]) and significantly elevated all-cause mor-
of such improvements. The well-known National Institute
                                                                      bidity and mortality, with survival curves between transi-
for Health and Care Excellence (NICE) reviews, commis-
                                                                      tioned adults and their cisgender matched controls mark-
sioned by the NHS, the UK’s health authority, evaluated
                                                                      edly diverging at the 10-year mark and beyond.
the first two stages of medical gender transition for youth:
                                                                         A more recent long-term Swedish study also failed to
puberty blockers and cross-sex hormones [33••, 34••]. In
                                                                      find that either hormones [39 •• ] or surgery [8 •• , 40 • ]
both reviews, the studies that reported positive findings were
                                                                      improved long-term mental health outcomes of gen-
found to be unreliable due to poor methodology.
                                                                      der dysphoric adults. Originally, the surgical outcomes
   In the case of puberty blockers, the reviews found no evi-
                                                                      showed some promise [39••]; however, the methodology
dence of improvements in key areas of mental health:
                                                                      was found to be deeply flawed [8••], and upon reanalysis
   “The results of the studies that reported impact on                of the surgery data, it emerged that not only did those who
   the critical outcomes of gender dysphoria and men-                 refrained from surgery fare no worse, but they also had
   tal health (depression, anger and anxiety), and the                half as many serious suicidal attempts [40•]. This differ-
   important outcomes of body image and psychoso-                     ence did not reach the threshold of statistical significance,
   cial impact (global and psychosocial functioning), in              but the apparent doubling in serious suicide attempts
   children and adolescents with gender dysphoria are                 among surgically transitioned individuals, as compared
   of very low certainty using modified GRADE. They                   to gender-dysphoric controls who did not have surgery, is
   suggest little change with GnRH analogues from                     clinically meaningful and problematic.


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   Yet another long-term Dutch follow-up of transitioned                 To avoid harm, clinicians conceptualize the specific physi-
individuals concluded that “suicide death risk is higher in          ologic, medical, social, and psychological dangers that parents
trans people than in the general population” and that suicide        and patients need to understand, attempt to avoid, or accept.
deaths occurred during every stage of transitioning”—from            Here are examples from each danger category associated with
those who were still in the evaluation phase, to those who           medical gender transition: sexual dysfunction and infertility
underwent complete gender transition [41, p. 486].                   [49, 50]; shortened lifespan due to increased medical mor-
   Two recent US-based publications highlighted high rates           bidity [7, 51]; difficulties in romantic partnerships [52, 53];
of mental health problems, including depression, anxiety,            substance abuse and addiction [54]. Advocates of the medi-
substance abuse disorder, suicidality, cardiovascular disease,       cal transition of youth point to the harms of “doing nothing”
obesity, cancer, and sexually transmitted infections such as         to stop natural puberty, which subjects youth to distress and
HIV, HPV, syphilis, and hepatitis C in community samples             necessitates more invasive procedures later in life to “undo”
of adults who identify as transgender [42, 43]. Although             the irreversible effects of puberty on the body [55]. Unlike the
community samples can suffer from extensive methodologi-             risks of transition-associated harms which have been demon-
cal problems [44], there is little debate about the high bur-        strated, avoidance of future harms by undergoing a medical
den of physical and mental health illness in this population.        transition in adolescence remains at best an unproven theory.
The explanations offered for these health disparities focus          Blocking puberty at Tanner stage 2 not only removes the possi-
on minority stress, discrimination, and barriers to obtaining        bility of fertility preservation [15], but also greatly complicates
health care including fear of mistreatment in health facili-         future genital surgeries due to insufficient tissue [56]. The
ties [42, 43]. Conspicuously absent from the discussion is           death of one of the 70 youths in the famous “Dutch study” [5]
the possibility that the mental health of some trans persons         due to complications from genital surgery was likely a direct
may be intrinsically compromised.                                    consequence of early puberty blockade [57•].
   The position that poor mental health problems are either              To ensure beneficence, clinicians need to understand
merely co-occurring with, or a direct result of the experi-          the benefits of gender transition, when they appear, and the
ence of “gender incongruence”—with no acknowledge-                   extent to which they endure over time. Initially, a high level
ment of the possibility of reverse causation —is reinforced          of satisfaction is expected as desired changes such as sof-
in the WPATH “Standards of Care 8” Assessment section                tened skin or, conversely, facial hair appear [58••]. Surgery
for adults, which states that uncontrolled mental health             can further improve appearance and satisfaction, although
problems should only rarely impede the provision of hor-             its rate of complications is significant [59, 60], and it does
mones and surgery [31, p. 37]. While the adolescent chapter          not clearly improve mental health [7, 8••]. However, at some
acknowledges the difficulties of working with adolescents            point, the interventions reach their limit. While the face,
who have psychiatric illnesses, the focus is on controlling          chest, and/or genitals can be surgically altered, overall skel-
problems just enough to ensure that young patients can pro-          etal size or hand size will continue to appear incongruent,
vide valid consent to gender reassignment, participate in            and dysphoria may persist [61].
postoperative care, and adhere to ongoing hormone treat-                 To respect patient autonomy, clinicians need to determine
ment [31]. The predominance of pre-existing mental health            when an adolescent has the cognitive maturational capac-
problems prior to the onset of gender dysphoria in youth             ity and life experience to consent to potentially irreversible
[29], and the implications for the future durability of a            medical and surgical interventions. However, because of the
transgender identity as youth mature, is not considered. In          maturational capacities of children or young adolescents, it
2022, two prominent gender specialists expressed concern             is the parents who are actually exercising the autonomy. This
that trans-identifying adolescents are too quickly diagnosed         can be seen in families in which parents support transition
and rushed to irreversible body-modifying interventions [45,         and those who do not. As soon as parents consent to the first
46].                                                                 stage of gender transition, a child’s future medical transi-
                                                                     tion trajectory is virtually assured [62•, 63•]. While chil-
                                                                     dren “assent” to the interventions, recent research about the
                                                                     capacity of adolescents to make decisions related to future
Collision of Ethical Principles                                      reproductive function is not reassuring [64].

When treating transgender-identified adolescents, clinicians
invariably confront three ethical principles—above all, do           Clash of Value Systems
no harm (nonmaleficence); act in the patient’s best interests
(beneficence); and respect of patient autonomy [47]. These           Absent certainty about the optimal treatment of the high
principles uncomfortably collide in the minds of many clini-         number of youth currently presenting with gender dysphoria
cians. There seems to be no simple resolution.                       [23••], decisions are made based on core values.


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   Those who insist that a young person has the right to             Bell, arguably the most famous young adult regretter,
receive any medical intervention they desire now, and the            whose case led the UK to reevaluate their approach to
right to regret that intervention later, privilege autonomy          gender dysphoric youth, would not have been counted as
above all else. The “patient autonomy” argument is compro-           a regretter in frequently-cited “low regret” studies [65].
mised by the very young age of the many affected patients,           This is because the studies required regretters to have
and a common tendency among gender-affirming providers               had their gonads removed, while the only surgery Keira
to exaggerate the benefits of the practice, while downplaying        received was a double mastectomy.
the risks and uncertainties [1•, 20].
   Those who advocate for sharply curbing the practice of
                                                                     Regret
medical interventions in gender-diverse minors because they
view the practice as a major source of iatrogenic harm, privi-
                                                                     Regret is a common, if not universal, human experi-
lege the principle of non-maleficence.
                                                                     ence. Individuals who underwent medical transition are
   The two positions on the issue of youth gender transi-
                                                                     no exception. Regret does not preclude benefits, which
tion also distinctly clash over the value of beneficence. Each
                                                                     typically appear first. The “honeymoon period” can last
side claims they are pursuing beneficence, but sharply disa-
                                                                     from several months to several years [68], with adverse
gree on the solution: one side insists that the most benefit
                                                                     effects emerging 8–10 years following transition [65,
is derived by undergoing a transition as early in puberty
                                                                     69] among mature adult transitioners. Among the more
as possible to achieve the best possible cosmetic outcomes,
                                                                     recently transitioning cohorts comprised primarily of
while the other asserts that achieving cognitive maturity,
                                                                     youth, there appears to be a shorter time to regret and
emotional stability, and obtaining life experiences (including
                                                                     a subsequent desire to detransition, around 3–6 years
sexual experiences) prior to making the decision to undergo
                                                                     on average, with longer time to regret and detransition
irreversible transition will provide the most long-term ben-
                                                                     among biological males [70•, 71].
efit for affected individuals.
                                                                        There are many contributing factors to regret. Many teens
                                                                     consenting to gender reassignment lack sexual experiences
                                                                     [72] and few anticipate wanting to have children in the future
Significance of Regret and Detransition
                                                                     [64]. Later, as sexual dysfunction because of hormones, sur-
                                                                     gery, or anxiety about physical intimacy becomes a recur-
Proponents of gender-transitioning youth insist the benefits
                                                                     rent experience, regret appears. Reproductive regret can be
of the practice are self-evident even if systematic reviews
                                                                     significant, as was evident in the data presented at WPATH
of evidence cannot detect them. To support their view, they
                                                                     Symposium [73, 74••].
quote exceedingly low regret rates of less than 1–2% [65,
                                                                        Strained intrafamilial bonds, inability to find a stable rela-
66]. This implies that 98–99% of transitioned individuals
                                                                     tionship, the experience of discrimination, need for ongo-
are happily situated throughout their lives. This conclusion
                                                                     ing medical care, substance use to quell anxiety and depres-
is inaccurate, for three reasons.
                                                                     sion—matters that they may have been warned about—begin
    First, follow-up studies exploring regret and quality
                                                                     to create waves of regret. Some eventually express regret
of life suffer from very high rates (20–60%) of loss to
                                                                     over not having had a chance to explore their concerns in
follow-up [67], which means the most adversely affected,
                                                                     psychotherapy before they transitioned [70•, 71].
including dissatisfied, sick, or deceased patients, may be
                                                                        There must be a hierarchy of intensity of regret related
lost to follow-up at a disproportionately high rate. Sec-
                                                                     to the situations patients ultimately find themselves in. The
ond, these rates were obtained from individuals transi-
                                                                     most extreme form of regret is post-transition suicide and
tioning under much different circumstances than the ones
                                                                     suicide attempts. Individuals who undergo medical detransi-
found today. They were mature adults who passed rigor-
                                                                     tion to restore the body to its pre-transitioned state are also
ous psychological screenings, which today are viewed as
                                                                     high on this hierarchy. Lower on this hierarchy are those who
“discriminatory gatekeeping.”
                                                                     regret their transitions but due to the irreversible changes
    Third, and perhaps most important, is the question
                                                                     to their bodies’ anatomy and function, adaptively choose to
of how these studies defined regret. Each study’s meth-
                                                                     make the best of their lives without detransitioning. Regret
odology differed, but generally speaking, regret has
                                                                     and acceptance can co-exist.
been traditionally defined very narrowly as a request for
legal document change or a return to the same clinic
that facilitated the original transition to start medical            Detransition
detransition. Even when these criteria were met, not
every study would consider someone who wanted to                     Physicians providing gender transition of youth claim that
reverse their transition as a regretter. For example, Keira          they have never met a detransitioned patient. This is not


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surprising: recent research with detransitioners indicated             to the unfortunate and preventable politicization of this com-
that three-quarters do not return to the treating providers to         plex issue.
tell them about detransition [70•].
   Detransition has become much more visible in recent years
[70•, 71, 75–83, 84••, 85]. However, it was only recently that         Conclusions
the rates of detransition began to be quantified. According to
recent UK and US data, 10–30% of recently transitioned indi-           Fulfilling the diagnostic criteria for gender dysphoria (DSM)
viduals detransition a few years after they initiated transition       or gender incongruence (ICD) in children or adolescents
[82, 83, 84••]. Detransition does not invariably mean regret           today does not predict its persistence in the future. Doctors
about the original transition. Not all detransitioned individu-        may be incorrect in their assumptions about the causes, per-
als have expressed regret. Those who have, are often angry at          sistence, and future trajectory of adolescent gender dyspho-
themselves for their naïve adolescent certainty and disturbed          ria. The rapidly rising numbers of gender dysphoric youth
about medical professionals’ unconcerned compliance with               treated with hormones and surgeries and the delayed onset
their requests. A growing number of malpractice lawsuits by            of regret mean that the scale of possible iatrogenic harm will
regretful youth [85] is likely in the future.                          not be known for several years.
                                                                           The evidence base for gender-affirming interventions is
                                                                       sparce and of very low quality. While the evidence of bene-
The Reversal of “Gender‑Affirming Care”                                fits is highly uncertain, the harms to sexual and reproductive
                                                                       functions are certain, and many uncertainties about the long-
In the last 36 months, there has been sharply increased scru-          term health effects exist. As a result, it is hard to ethically
tiny of the practice of youth gender transition worldwide.             justify continuing to use hormones and surgeries as first-line
Systematic reviews of evidence from Europe failed to dem-              “treatment” for gender dysphoric youth.
onstrate the hoped-for meaningful improvements in youth’s                  Political arguments relying on social justice, civil
mental health functioning and exposed significant risks,               rights, and freedom of expression are compelling and
including demonstrated risks to bone development [33••,                powerful in the public arena. Few mental health pro-
34••, 35, 36].                                                         fessionals would argue against these vital human rights.
    Three different studies [1•, 57•, 74••] recently shone             Nonetheless, they tend to complicate clinicians’ consid-
a spotlight on the original Dutch research [4, 5], which               eration of how to respond to gender dysphoric adoles-
launched the experimental practice of pediatric gender tran-           cents and their families.
sition into mainstream medical practices shortly after its pub-            Parents want to know, “Where is this identity coming
lication. The studies argued that the Dutch research failed to         from?” “What about my child’s previous difficulties?” and
demonstrate any clinically significant changes in standard             critically, “Will transition give my child the best chance for
measures of psychological health and that the main finding             a happy and fulfilling life?” Clinicians are ethically bound
of the resolution of gender dysphoria was likely invalid due to        to honestly represent the uncertainty of the current state of
the reversal of the scale scoring between baseline and follow-         knowledge, rather than asserting that body modification is
up [1•, 74••]. The Dutch research also raised serious ethi-            the best, safest, and most effective treatment. When a con-
cal questions, as nearly all the youth in the Dutch research           cerned family seeks our counsel, they are seeking our knowl-
who were transitioned and became sterile had been same-sex             edge, not our political ideation and beliefs.
attracted at baseline [57•]. Overall, the researchers deemed
the Dutch studies unfit for clinical or policy decision-making
                                                                       Author Contribution Both authors contributed to the conception and
due to the high risk of methodological bias [1•, 74••].                design of this review. The first draft of the manuscript was written by
    Commensurate with these conclusions, in the last 3 years,          Stephen Levine. Both authors contributed to its evolution. E. Abbru-
three European countries—Finland, Sweden, and England—                 zzese provided the majority of the literature review. Both authors criti-
have reversed their unquestioning belief in “affirmative care”         cally revised and approved the final manuscript.
by setting new national health policies that prioritize men-           Data Availability Data sharing is not applicable as no new data were
tal health interventions as the first and often only treatment         generated or analyzed during this study.
available outside of clinical research settings [86, 87••, 88].
    This reckoning has also begun in France, Australia, and            Declarations
the US state of Florida, and most recently, Norway [89–92].
                                                                       Conflict of Interest The authors declare no competing interests.
Many US state laws have been introduced to limit or ban
gender transitions of youth [93]. The reluctance of the US             Human and Animal Rights and Informed Consent This article does not
medical societies to recognize the apparent problems with              contain any studies with human or animal subjects performed by any
medical “gender affirmation” of youth may have contributed             of the authors.


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as you give appropriate credit to the original author(s) and the source,                                                                                                                   tion in transgender individuals after gender-affirming surgeries:
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the article's Creative Commons licence and your intended use is not                                                                                                                        reduced mental health problems in transgender adults. A
permitted by statutory regulation or exceeds the permitted use, you will                                                                                                                   statistical reanalysis of the data identified no benefits, and
need to obtain permission directly from the copyright holder. To view a                                                                                                                    the earlier erroneous conclusion that the study “lends sup-
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      identify key issues compromising informed consent to gender
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      the benefits of early transition; and inaccurate information




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      shared with patients and their parents, including problem-
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      ing serious methodologies deficiencies, conclude that the                                                                                                                                                                                                                         contentassets/ea4e698fa0c4449aaae964c5197cf940/hormonbeha




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      tematic review of evidence for the use of puberty blockers                                                                                                                                                                                                                        the original study [39]. To improve on the methodological
      in gender dysphoria, commissioned by England’s NHS,                                                                                                                                                                                                                               deficiencies in the original analysis, the authors constructed
      concluded that the evidence base is of very low quality/                                                                                                                                                                                                                          two identically-sized comparison groups: the “intervention”


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      group of gender dysphoric individuals who underwent sur-                                                                                                                                                                                                                                                       55.   de Vries ALC. Ensuring care for transgender adolescents who
      gery, and a “control” group gender dysphoric individuals                                                                                                                                                                                                                                                             need it: response to ‘reconsidering informed consent for trans-
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      outcomes measures between the two. It also revealed twice as                                                                                                                                                                                                                                                         1080/0092623X.2022.2084479




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      many serious suicidal attempts in the group that underwent                                                                                                                                                                                                                                                     56.   van de Grift TC, van Gelder ZJ, Mullender MG, Steensma
      surgery compared to the controls, although the difference did                                                                                                                                                                                                                                                        TD, de Vries ALC, Bouman MB. Timing of puberty sup-
      not rise to the level of statistical significance, likely because                                                                                                                                                                                                                                                    pression and surgical options for transgender youth. Pediat-
      the sample was underpowered.                                                                                                                                                                                                                                                                                         rics. 2020;146(5):e20193653. https:// doi. org/ 10. 1542/ peds.




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      13164.                                                                                                                                                                                                                                                                                                               2022.2121238. This paper examines the roots of the Dutch




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      https://doi.org/10.1056/NEJMp2204569.                                                                                                                                                                                                                                                                                intervention focused on cosmetic outcomes and relied on
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      stepped-down-from-uspath-and-wpath/                                                                                                                                                                                                                                                                                  treated with cross-sex hormones (2 or 315). The accom-
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      relationships in transgender people: a systematic review of the                                                                                                                                                                                                                                                      undergo full social transition as children are highly likely
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      doi.org/10.1080/26895269.2020.1765446.                                                                                                                                                                                                                                                                               medical transition upon puberty. This suggests that social
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      and adolescents in the Amsterdam Cohort of Gender Dys-                                                                                                                                    sium, Montreal, QC, Canada.
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      Published online January 26, 2023:qdac029.https://doi.org/10.                                                                                                                             the Dutch studies—and research that has followed. J Sex Mari-




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      1093/jsxmed/qdac029. This research from the Amsterdam                                                                                                                                     tal Therapy. Published online January 2, 2023:1–27. https://doi.




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      gender clinic, the home of the Dutch protocol and the prac-                                                                                                                               org/10.1080/0092623X.2022.2150346. This paper, written in




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      tice of youth medical transition, found that detransition at                                                                                                                              response to the principal investigator’s publication defending
      the puberty blocker stage is rare, with over 98% of youth                                                                                                                                 the Dutch research [55], provides the most comprehensive
      who start puberty blockers continuing to cross-sex hor-                                                                                                                                   analysis of the flaws in the foundational Dutch studies [4,5].
      mones. The researchers conceded that the act of starting                                                                                                                                  The paper concludes that the research methodology inad-
      puberty blockade in itself may lead to an increase in youth                                                                                                                               vertently reported on only the most likely to succeed cases;
      who will later seek to complete their gender reassignment                                                                                                                                 that the claimed psychological improvements, including the
      with cross-sex hormones and surgery. This suggests that                                                                                                                                   disappearance of gender dysphoria, were not credible; and
      puberty blockers should not be viewed as a diagnostic tool,                                                                                                                               that research revealed an underappreciated, significant risk
      but rather as a first step in medical gender transition.                                                                                                                                  of associated harm to 6–7% of participants. The paper con-
64.   Vrouenraets LJJJ, de Vries ALC, Arnoldussen M, et al.                                                                                                                                     cludes that the Dutch prematurely asserted proven benefits;
      Medical decision-making competence regarding puberty                                                                                                                                      that transition was inappropriately scaled into general medi-
      suppression: perceptions of transgender adolescents, their                                                                                                                                cal settings; and noted the reversals of this “innovative medi-
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      . This research demonstrated that detransitioners typically                                                                                                                               doi.org/10.1001/jamanetworkopen.2022.24717
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      on the best available evidence, “for adolescents with gender                                                                                                                                                  ntsikkerhet-for-barn-og-unge-med-kjonnsinkongruens/samme




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89.   Medicine and gender transidentity in children and adolescents
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